
456 B.R. 89 (2011)
In re Susan Marie HARRIS, Debtor.
Susan Marie Harris, Plaintiff,
v.
Ben-Ezra &amp; Katz, P.A., LPS Default Solutions, Inc. &amp; Lender Processing Services, Inc., Defendants.
Bankruptcy No. 08-30376-LMK. Adversary No. 11-03021-LMK.
United States Bankruptcy Court, N.D. Florida, Pensacola Division.
October 3, 2011.
Sharon T. Sperling, Esq., Gainesville, FL, for Debtor.
Tripp Scott, PA, Ft. Lauderdale, FL, for VT Inc.
Leigh D. Hart, Esq., Tallahassee, FL, for Trustee.

ORDER GRANTING DEFENDANTS' MOTION TO STRIKE AND DENYING PLAINTIFF'S ALTERNATIVE MOTION TO DISMISS
LEWIS M. KILLIAN, JR., Bankruptcy Judge.
This matter came before the Court on the LPS Defendants' motion to strike Plaintiffs notice of voluntary dismissal and alternative motion for leave to dismiss voluntarily pursuant to Federal Rule of Civil Procedure 41(a)(2). After due consideration of the record and pleadings, the Court finds that the Defendants' motion to strike is due to be granted, the Plaintiffs notice of dismissal stricken, and the Plaintiffs alternative motion for leave to dismiss denied. It is hereby
ORDERED that the LPS Defendants' motion to strike Plaintiffs notice of voluntary dismissal is GRANTED, and the Plaintiffs notice of voluntary dismissal is STRICKEN; and it is further
ORDERED that the Plaintiffs alternative motion for leave to dismiss voluntarily pursuant to Federal Rule of Civil Procedure Rule 41(a)(2) is DENIED.
DONE and ORDERED.
